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 6
 7 Attorneys for Plaintiffs Elon Musk
   and X.AI Corp.
 8
                                 UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10
11    ELON MUSK, et al.,                          Case No. 4:24-cv-04722-YGR

12                     Plaintiffs,                Assigned to Hon. Yvonne Gonzalez Rogers

13        v.                                      DECLARATION OF JAYMIE
                                                  PARKKINEN IN SUPPORT OF
14    SAMUEL ALTMAN, et al.,                      PLAINTIFFS’ MOTION TO STRIKE
15                                                OPENAI DEFENDANTS’ FIFTY-FIVE
                       Defendants.                DEFENSES
16
                                                  Date:    August 5, 2025
17                                                Time:    2:00 p.m.
                                                  Place:   Courtroom 1 (4th Fl.)
18                                                         1301 Clay St.
19                                                         Oakland, CA 94612

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29                                                                   CASE NO. 24-CV-04722-YGR
                                                                              PARKKINEN DECL.
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 1                                             DECLARATION

 2          I, Jaymie Parkkinen, declare as follows:

 3          1.      I am an attorney at Toberoff & Associates, P.C., counsel of record for Plaintiffs Elon

 4 Musk and X.AI Corp. (“Plaintiffs”) in this action, and a member of the bar of the State of California.
 5 I submit this Declaration in connection with Plaintiffs’ Motion to Strike OpenAI Defendants’ Fifty-
 6 Five Defenses. Except where otherwise stated, I have personal knowledge of the facts set forth herein
 7 and, if called as a witness, could and would so testify.
 8          2.      Over the course of June 12 and 13, 2025, Plaintiffs and the OpenAI Defendants

 9 (“OpenAI”) met and conferred for approximately nine hours regarding various discovery matters. I
10 represented Plaintiffs during this conference. Though other counsel for OpenAI and Microsoft
11 attended the call, only Bradley Wilson, Nathaniel Cullerton, and Alison Plessman actively
12 participated on behalf of OpenAI.
13          3.      During the conference, OpenAI sought to justify many of its discovery requests by

14 referencing its defenses to Plaintiffs’ causes of action.
15          4.      When I questioned the merit and applicability of some of these defenses, Mr. Wilson

16 raised the fact that, to date, Plaintiffs had not challenged any of OpenAI’s defenses.
17          5.      Since the conclusion of the June 12-13 conference, OpenAI has issued an additional

18 eleven subpoenas. One of these subpoenas was addressed to Plaintiffs’ counsel directly.
19          6.      I declare under penalty of perjury of the laws of the United States that the foregoing is

20 true and correct. Executed on June 26, 2025.
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22                                                               /s/ Jaymie Parkkinen
                                                                   Jaymie Parkkinen
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29                                                      2                       CASE NO. 24-CV-04722-YGR
                                                                                         PARKKINEN DECL.
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 1                                        ECF ATTESTATION

 2          I, Marc Toberoff, am the ECF User whose ID and password are being used to file this

 3 DECLARATION OF JAYMIE PARKKINEN IN SUPPORT OF PLAINTIFFS’ MOTION TO

 4 STRIKE OPENAI DEFENDANTS’ FIFTY-FIVE DEFENSES. In accordance with Civil Local
 5 Rule 5-1, concurrence in the filing of this document has been obtained from the other signatory, and
 6 I shall maintain records to support this concurrence for subsequent production for the Court if so
 7 ordered or for inspection upon request by a party.
 8
 9          Dated: June 26, 2025                                /s/ Marc Toberoff
                                                                  Marc Toberoff
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29                                                      3                    CASE NO. 24-CV-04722-YGR
                                                                                      PARKKINEN DECL.
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